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 4   Fresno, CA 93721
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 6
 7                       UNITED STATES DISTRICT COURT
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     ) Case No. 1:09-CR-00388 LJO
                                   )
11                  Plaintiff,     ) STIPULATION TO CONTINUE
                                   ) STATUS CONFERENCE & MOTIONS
12                                 ) HEARING; ORDER
                                   )
13               v.                )
                                   ) Date: June 4, 2010
14   SARAH RENEE TODD,             ) Time: 9:00 a.m.
                                   ) Judge: Hon. Lawrence J. O’Neill
15                  Defendant.     )
     ______________________________)
16
17        IT IS HEREBY STIPULATED by and between the parties hereto,
18   and through their respective attorneys of record herein, that the
19   status conference and motion hearing in the above-referenced
20   action now scheduled for May 13, 2010, may be continued to June
21   04, 2010 at 9:00 a.m.
22        This continuance is requested by the parties as United
23   States Attorney, Mark J. McKeon, is presently in trial and
24   anticipates being in trial through the following week.          The
25   parties believe that a resolution of the case is possible;
26   however, we have not been able to have sufficient negotiations in
27   that regard.    Parties agree that time should be excluded through
28   June 4, 2010.
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 1        The parties agree that the delay from the continuance shall
 2   be excluded in the interest of justice, including but not limited
 3   to, the need for the period of time set forth herein for further
 4   preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv).
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 6
 7                                          Respectfully submitted,
 8                                          BENJAMIN B. WAGNER
                                            United States Attorney
 9
     Dated: May 11, 2010              By:   /s/ Mark J. McKeon
10                                          MARK J. MCKEON
                                            Assistant U.S. Attorney
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12
13   Dated: May 11, 2010              By:   /s/ Carl M. Faller
                                            CARL M. FALLER
14                                          Attorney for Defendant
                                            Sarah Renee Todd
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 1                                      O R D E R
 2            Good cause exists for the requested continuance, and it is
 3    GRANTED.      The intervening period of delay shall be excluded in
 4   the interests of justice pursuant to 18 U.S.C. §§ 3161(h)(7)(A)
 5   and 3161(h)(8)(B)(iv).
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 8   IT IS SO ORDERED.
 9   Dated:     May 12, 2010                 /s/ Lawrence J. O'Neill
     b9ed48                              UNITED STATES DISTRICT JUDGE
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